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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ZACK K. DE PIERO,
                                                          CIVIL ACTION NO:
                       Plaintiff,                         No. 2:23-cv-02281
               v.

PENNSYLVANIA STATE UNIVERSITY and
DAMIAN FERNANDEZ, MARGO
DELLICARPINI, LILIANA NAYDAN, CARMEN
BORGES, ALINA WONG, LISA MARRANZINI,
FRIEDERIKE BAER, and ANEESAH SMITH, in
their official and individual capacities

                       Defendants.


                                STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Zack K. De Piero and

Defendants hereby stipulate to the voluntary dismissal of Defendants Damian Fernandez, Margo

DelliCarpini, and Lisa Marranzini, in their official and individual capacities, with prejudice.

       Respectfully Submitted,

       ALLEN HARRIS PLLC                                     SAUL EWING LLP

       /s/ Michael Thad Allen                                 /s/ James A. Keller
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       hac vice)                                             79855)
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                                                             Attorneys for Defendants

Date: September 10, 2024
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date stated below, I caused a true and correct copy of the

foregoing Stipulation of Dismissal to be served upon counsel through electronic filing and

electronic mail on the following:


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                          Attorney for Plaintiff Zachary K. De Piero


                                                   /s/ James A. Keller
                                                   James A. Keller, Esq.

Dated: September 10, 2024
